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14449978 Care Credit          GE Money Bank             P.O. Box 981127         El Paso, TX 79998−1127
14532039 City and County of San Francisco             Bureau of Delinquent Revenue           Tax Clearance        P.O. Box
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14449980 Discover − Bankruptcy             P.O. Box 3025         New Albany, OH 43054
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